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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA


             v.                                     Crim. No. 06-911 (KSH)

                                                  Hon. Katharine S. Hayden
DAVID KIRKLAND
                                                       OPINION AND ORDER




         Defendant David Kirkland has moved for an order reinstating

bail, supporting his motion with a brief filed on his behalf by

counsel [D.E.#176] and an assessment written by a mental health

professional who has been seeing him at the Hudson County Jail,

where Kirkland is detained pending sentencing.                         The Government

has filed a response.          [D.E. #177]

         The Court has reviewed these submissions.                  The Government’s

brief accurately outlines the procedural history of defendant’s

pretrial release, the subsequent revocation of bail, and his

efforts     to    get   bail   reinstated      prior    to      trial.     The   Third

Circuit     has   affirmed     this   Court’s      order       [D.E.   #100]   denying

reinstatement of bail.          This all preceded defendant’s conviction

by   a    jury,    which   increased      the     burden       on   him   to   justify

reinstatement of bail.



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       The burden is significant:                      David Kirkland must make         a

clear and convincing showing that he poses neither a flight risk

nor a danger to the community, otherwise the Court must detain

him.    From the statute:

       [T]he judicial officer shall order that a person who
       has been found guilty of an offense and who is
       awaiting imposition or execution of sentence ... be
       detained, unless the judicial officer finds by clear
       and convincing evidence that the person is not likely
       to flee or pose a danger to the safety of any other
       person or the community if released ...

18 U.S.C. § 3143(a).

       David Kirkland has been convicted of crimes that imperil

the public; he has a criminal history of committing similar

crimes;   he   faces      a    significant        prison    term.      The   information

presented by the mental health professional who is providing

treatment does not constitute clear and convincing evidence that

would overcome the requirement that he be detained under the

present circumstances.

       Based   on   the       foregoing,         the    motion    to   reinstate    bail

pending sentencing is denied.



                                        SO ORDERED.

                                        /s/Katharine S. Hayden_____
                                        Hon. Katharine S. Hayden
                                        United States District Judge




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